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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

 

WESTERN DIVISION RECEIVED
GEORGE PHILLIPS, JURY DEMAND APR 02 7007
Plaintiff,
$8,000,000.00 MICHAEL W. GOSIN
v. CLEA H. 8. DIeTINAT QouUNT
DOCTOR NGU, 6
KAROLYN SHERIDAN, case. nor _ 07S 00 63

 

JAMES#MARTENS, -

CHRIS BARNHART,

NEDRA CHANDLER,

S. BENTON,

ROGER E. WALKER, -dr.2°77s-

JOHN DOE HEALTHCARE PROVIDER, Defendants.

COMPLAINT UNDER THE CIVIL RIGHTS ACT, TITLE 42 SECTION
1983 U.S. CODE (state, county, or municipal defendants)
JURISDICTION AND VENUE

1. This Court has jurisdiction over the claims for relief in this
complaint pursuant to 28 U.S.C. § 1331, 1343(a)(3) and 42 U.S.c. § 1983.

2. Venue is proper in the Northern District of Illinois pursuant to
28 U.S.C. § 1391(b).

3. Plaintiff further invoke this Court's supplemental jurisdiction
pursuant to 28 U:S.C. § 1367(a) over any and all State Constitutional
and law claims so related to the claims within the original jurisdiction’

of this Court that they may form part of the same case or controversy.
JURY DEMAND

Plaintiff demands trial by jury in this action on each and every

one of the claims as alleged herein this and any amended complaint.

 
 

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I. Plaintiff(s):

 

 

 

 

A. Name: George Phillips #C-90220 .

B. __ List all aliases: none 7

Cc. Prisoner identification number: _C-90229

D. Place of present confinement: _Dixon Corr. Center

E. Address: 2600 N. Brinton Av,, Dixon, I] 61021

(If there is more than one plaintiff, then each plaintiff must list his or her name, aliases,
LD. number, and current address according to the above format on a separate sheet of

paper.)

Il. Defendant(s):
(In A below, place the full name of the first defendant in the first blank, his or her official

position in the second blank, and his or her place of employment in the third blank. Space.
for two additional defendants is provided in B and C.)

A. Defendant: Doctor Ngu

Title: Medical Director

Place of Employment: _Dixon’ Corr. Ctr.

B. Defendant: Karolyn Sheridan

. Health Care Administrator
Title:

Dixon Corr. Ctr.

 

Place of Employment:

C. Defendant: James Martens

Title: Counselor

Dixon Corr. Ctr.
Place of Employment:

(If you have more than three defendants, then all additional defendants must be listed
according to the above format on a separate sheet of paper.)
(Continued on page 3. )

 

 
 

 

2. Lee

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D. Defendant: Chris Barnhart,
Title: Grievance Officer

Place of Employment: Dixon, Corr. ctr.

E. Defendant: Nedra Chandler
Title: Warden (Chief Administrative officer)

Place of Employment: Dixon Corr. ctr.

F. Defendant: S. Benton
Title: Administrative Review Board

Place of Employment: Ill. Dept of Corrections, Springfield, Il.

CG. Defendant: Roger E. Walker, Jr.
Title: Director of the Illinois Dept. of Corrections

Place of Employment: Ill. Dept. of Corrections, Springfield, Il.

H. Defendant: John Doe (Healthcare Provider)
Title: Healthcare Provider

Place of Employment: Dixon Corr. ctr.

All the defendants have acted, and continue to act, under color of
State Law at all times relevant to this complaint, and are being

sued in their individual capacities, and their official capacities.

 
 

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Ill. Exhaustion of Administrative Remedies
_You are required to exhaust all your available administrative remedies before bringing an
~ action in federal court.

Is there a grievance procedure available at your institution?

A.
YES oO NO (_ ) Ifthere is no grievance procedure, skip to F.

Have you filed a grievance concerning the facts in this complaint?

YES (A NO ( )

C. If your answer is YES:

1. What steps did you take?
The Plaintiff timely filed a_grievance to the Warden of

Dixon Corr. Ctr., after it was denied he sent it to the

Grievance Officer, then timely sent it to the Adm. Rev. Bd
(See Exh. A )

2, What was the result?
The Warden sent the grievance to Counselor Martens who

denied it as untimely, as did the Grievance Officer, and

also S. Benton of the Adm. Rev. Bd. did the same, soem,

(see exh. A, Bqwa C).

3. If the grievance was not resolved to your satisfaction, did you appeal? What

was the result (if there was no procedure for appeal, so state.)
The grievances was denied on all levels as untimely and

Petitioner was told to resubmit grievances after going to

Sick Call, whééh he did. (see Exh. N{Q,C,D,and_F at pace 6)

D. If your answer is NO, explain why not:

 

 

 

 

 
 

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E. Is the grievance procedure now completed? YES (4) NO ( )

If there is no grievance procedure -in thé institution, did vou complain to

 

 

 

 

 

 

F.
authorities? YES { ) NO( ) —
G. If your answer is YES: Not Re | e Van +
1. What steps did you take? \
2. What was the result? |
\
H. if your answer is NO, explain why not: V

 

 

 

 

 

 
 

 

 

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List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
court (including the Central and Southern Districts of Illinois):

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IV.

 

 

 

—~A. Name of case and docket number:
B. Approximate date of filmg lawsuit:

List all plaintiffs (if you had co-plaintiffs), including any aliases:

 

 

 

D. List all defendants:

 

 

Court in which the lawsuit was filed Gf federal court, name the district; if state

 

 

 

 

 

 

 

 

 

E.
court, name the county):

F. Name of judge to whom case was assigned:

G. Basic claim made:

H. Disposition of this case (for example: Was the case dismissed? Was it appealed?
Is it still pending?):

I. Approximate date of disposition:

 

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE
THE ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-

PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.

 

 
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V. STATEMENT OF CLAIMS

1. Defendant's Ngu (Medical Director) and Sheridan (Healthcare Admini-
strator) are employed at the Dixon Corr. Ctr. and as the two top medical
personel at this facility, they review all medical records, Lab reports,
Radiology reports, chronic and terminally ill patients and determine

which patients qualify for certain specific expensive examinations and/or

treatments.

2. Defendant John Doe Healthcare Previder for the Dixon Corr. Ctr.
reviews, approves and/or denies all request from defendants Ngu and
Sheridan for any expensive and extensive medical examinations and/or

treatments.

3. On 3-6-06, the plaintiff was given Lab Blood test as a part of his
annual yearly physical. Because he had been complaining of his chest and

breathing, he was also given a chest x-ray.

4, Plaintiff was not notified by defendants Ngu, Sheridan, or anyone
else from the Healthcare Unit (HCU) of the lab test or chest x-ray
results. It wasn't until approximately three months later in July 2006
when plaintiff had his annual appointment with his psychiatrist that
during this visit the psychiatrist while making a general review of
plaintiff's medical file that the psychiatrist asked him how he was
coming along with his emphysema. Thats when plaintiff became aware that

he had this life threatening disease.

5, Plaintiff was shocked with this knowledge especially since he had not
been made aware of it by the appropriate medical staff (defendant Ngu
and Sheridan) nor treated even after complaing on 5-8-06 of chest pain,
shortness of breath, nausea, vomiting and being diagnosed by a nurse of
having an irregular pulse. (see Exh. F , pg-i1) He still was not told
of this illness nor treated Ss after also going to the HCU on 7-27-06,
7-31-06, 8-2-06, 8-24-06, 8-28-06, and on 8-30-06 (see Exh. F, pa. 2-3)
and also on 9-5-06, 9-8-06, 9-25-06, 9-27-06, 10-10-06, 10-25-06, and on
10-30-06. (see Exh. F, Ppg- 4-8.)

 
 

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From
6. For eight times feem 3-6-06 to 8-30-06 (see exh. F,pg. 1-3) plaintiff

was seen by Healthcare staff before accidently learning of his illness
through his psychiatrist. For a grand total of fifthteen times from
3-6-06 to 10-30-06 (see Exh. F, pg.1-8) plaintiff was at the HCU and
still was not told by medical staff of his illness, nor given any
consultation by defendants Ngu or Sheridan, or treated for his illness,

even though he made health complaints and specifically requested treatment.

7. Defendant Chandler is the Chief Adminstrative Officer (CAO) of the
Dixon Corr. Ctr. and is required by Illinois law under 730 ILCS 5/3-8-8
Grievances, to have, uphold and maintain the institutional grievance
laws and to receive and expedite grievances under Title 20: Illinois
Administrative Code Subchapter ¢é, section 504.840 Emergence Procedures,
where "there is a substantial risk of imminent personal injury, or other

serious or irreparable harm to the offender". (see Exh.G,,and Exh..H, pg. 3.)
gM oy.

8. On 8-11-06, within the 60-day time limitation to grieva a matter,
plaintiff filed an emergency grievance to the CAO making the CAO fully
aware of his life threatening illness. (see Exh, A }. Instead of taking
action in accordance with 730 ILcs 5/3-8-8 and/or Vatl® 20: section
504.840, the CAO disregarded the well established statutory provisions
of this law as well as the seriousness of the grievance and sent it down

the ladder to defendant counselor james martens,. (see Exh. A ).

9. Defendnat Martens is a Counselor at the Dixon Corr. Ctr. On 8-16-06,
defendant Martens heard the grievance as a non-emergency matter and denied
the grievance stating “Inmate Philips need to sign up for sick call. The

"

issue he addresses is beyond the 60-day time frame to file a grievance...
(see Exh.A ).

10. After getting the counselors response from defendant Martens,
plaintiff then in accordance with the grievance procedurs sent the
grievance to Defendant Barnhard, who is the Grievance officer (GO) for

Dixon Corr. Ctr. who on_8-21-06 refused to take action on the grievance

as untimely (see Exh. &.) aes

 
 

 

 

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11. Plaintiff then sent the grievance back to Defendant Chandler who
also denied it. In an timely manner, plaintiff forwarded the grievance

to Defendant Walker.

12. Defendant Walker is the Director of the Illinois Department of
Corrections (IDOC) and is responsible for reviewing grievances in
accordance with 730 ILCS 5/3-8-S and Title 20: Ill Adm. Code sub-
chapter e section 504.805 and 504.850 (see Exh.G, andckxh.,H, pgihé& 3.).)

 

13. Defendant S. Benton is an appointee of defendant Walker who passed
the grievance off to defendant S. Benton to review. Defendant Benton
denied the grievance as untimely and recommended that plaintiff file

another grievance on the institutional level (see Exh, © ).

14, In compliance with the response from S. Benton who as the appointee
of defendant Walker is in charge of the Administrative Review Board,
pliantiff eventhough knowing full well that he was not untimely in his
first grievance and his appeal to defendant Walker went to the HCU on
9-8-06 and without any satisfaction he then filed another grievance by
sending it to defendant Martens on 9-11-06 (see Exh.F, pg. 5, and also
Ce eel —
Exh. D 1).

15. On 9-13-06 Defendant Martens again denied plaintiff grievance as
untimely. Plaintiff thereafter forwarded this grievance attached with

the first grievance to the GO (defendant Barnhard) who denied it, then

to the CAO (defendnat Chandler) who also denied it, then to the IDOC
Director (defendnat Walker) who again passed it on to defendant S. Benton
who again denies this grievance on 9-26-06 as untimely dispite it not
being untimely and even after his/her first recommendation on 9-5-06 for

Exh.
plaintiff to file another grievance (seevExh, D r Exh. E , and Exh. C ,)

VI. CLAIMS FOR RELIEF

16. Defendants Ngu and Sheridan as high ranking members of the medical

 

profession and IDOC employess, in their individual and official capacity
had actual knowledge and experience of the medical procedures (a protected

liberty interest under the U.S. Constitution and Illinois law adopted in

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730 ILbcs 5/3-7-2{d))when reviewing a medical chart or records that they
must follow up on the patient and provide the necessary examinations and
treatments especially when they see that the patient has a life threaten-
ing illness as the plaintiff has. Without an medical doubt emphysema is
a debilitating life threatening disease. Both defendants with deliberate
indefference and willful negligence failed to adhire to their medical
oaths, their oaths as IDOC employees, and to long standing procedural
safeguards, and plaintiffs right to medical treatment, knowingly, will-
fully, conspired together maliciously and sadistically with intent to
subject plaintiff to cruel and unusual punishment in violation of the
eight amendment by looking the other way to deny him treatment so that
they could stay below their annual budgets inorder to get a higher
personal bonus by the IDOC and it's healthcare provider at the close of
the fiscal year for staying below a particular percentage of their
allotted budget. (This is documented materal plaintiff will seek to
obtain through discovery as the defendants will not give it to him to

include as exhibits in filing this complaint).

17. Defendant John Doe Healthcare Provider instructs the medical Director
and Healthcare Administrator (defendants Ngu and Sheridan) to stay below
budget if they want a bonus, which violates the plaintiffs right to the

proper medical care he needs under the eight_amendment.

18. Defendants Ngu and Sheridan in their individual and official capacity
knowingly, willfully, maliciously and sadistically conspired with the
intent to discriminate against plaintiff and to not inform and treat him
for his illness because, 1) to save money from their budget to increase
their bonuses; 2) because plaintiff is a old-time long-term C ~ Number
prisoner with an indeterminate sentence who may never make parole; 3)
because he is an Psychiatric Patient(an american with an disability)

housed in the Psychiatrict facilty Unit_in this prison.

19. Thus the "substantial" and "notivating" factors in defendants Ngu
and Sheridan's discriminating against, and exercising deliberate indiff-
erence to plaintiff health and safety is to, 1) save money to stay below
their budget to increase their bonuses; 2) because plaintiff is a_old-

time long-term C - Number prisoner; 3) because plaintiff is a psychiatrict
‘ oo eR renner TT

 

 

 

 
 

 

 

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patient with a mental disability housed in the psychiatrict facility of
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this prison. Their actions has caused plaintiff mental and emotional

harm and injury and recklessly contributed to his physical pain and future

detriment, and deliberately violated his eight amendment rights.

20. Defendants Ngu_and Sheridan actions were more than merely negligent
as they had knowledge of plaintiffs illness, pain and suffering, the
harmful condition of not treating him and they failed to do anything to
correct it or alleviate the condition knowing that their actions created
a substantial risk of serious harm to him by leaving the serious threat

of the conditions of his illness untreated.

21. Defendants Martens, Chandler, Barnhard, Walker, §, Benton, and the
Healthcare Provider all acted with deliberate indifference to plaintiff's
constitutional rights under the American Disability Act, the first Amend-
ment to file grievances, Illinois law, to receive medical treatment, to
not be discriminated against because he's a psychiatrict patient, the
14th amendment right to due process, and the eight amendment to be free
from cruel and unusual punishment. These defendants are fully aware of
the grievance procedures as they deal with hundreds of grievance on an
weekly basis. They all knew that under 730 ILCS 5/3-8-8 and it's four

 

provisions that plaintiff had a right to file a grievance and that they
must not retaliate or discriminate against him because he exercises this
right. Retaliate and discriminate is exactly what each defendant did.
(see Exh & 1) pee eRe They also knew that his grievance was timely as
Title 20: Ill. Adm. Code subchapter e section 504. 810 clearly states in
the third sentence "A grievance shall be filed within. 60 days after the
discovery of the incident".. . (see exh. Ht, pg. 1). The plaintiff was
made aware of his illness in July 2006. Thus this is when he made the
discovery and the defendants know full well that this is the correct
point of discovery not when the x-ray was taken. It's when the discovery _
is made by the grieving party! Thus the plaintiff was timely in filing
his initial grievance on 8-11-06. This is an ongoing conspiracy in the
Ipoc to get around prisoners grievances and these named defendants have

conspired against plaintiff in this ongoing perpetration.

22. Defendants Ngu, Sherdian, Martens, Chandler, Barnhard, Walker, Benton,

and their Healthcare Provider all displayed deliberate indefference to

Il.

 

 

 
 

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plaintiff where they all twew that treatment for him is certainly

"medically necessary". All the defendants in their individual and
official capacity conspired together in an effort to prevent the
plaintiff from obtaining his rights of the ist, gth, and 14th amend-
ments, having been made aware of his illness and knowing that their
actions and lack of action presented a substantial risk of harm, pain
and suffering to him as the risk was obvious. Each defendant retaliated

under color of law, because he is a psychiatrict patient and to save money.
VII. DENIAL OF DUE PROCESS AND EQUAL PROTECTION

23. Defendants Martens, Barnhard, Chandler, Walker, and S,Benton failed

in their individual and official capacity to fairly rule upon plaintiff
grievance, or to provide equal protection and due process under the 14th
amendment and to adhire to Illinois law, administrative rules and pro-
cedures, and tovfair to an American with an mental disability. Defendants
Ngu,y Sheridan, and John Doe Healthcare Provider by not informing plaintiff
of his illness, not treating him, and having and participating in a
agreement to keep below a designated budget inorder to receive a bonus

for themselves contributed to the denial of plaintiffs rights.
VIII. RELIEF REQUESTED

Aj. Plaintiff request that the court declare that the actions of each

defendant described herein have amounted to the wanton and unnecessary
infliction of pain, harassment, retaliation, and emotional injuries in
violation of his rights under the ist., 8th.,and 14th amendments of the

U.S. Constitution, Illinois Law,and IDOC Rules and Procedures.

B3. Declare that the deprivations alleged in this complaint is one

of "real substance" and imposed “atypical and significant hardships

on the plaintiff" in relation to the ordinary incidents of prison life,
and "but for" the retaliatory conduct and actions of the defendants
described herein, plaintiff would not have suffered and continue to
suffer the wanton and unnecessary infliction of pain, harassment,
retaliation, and emotional and punitive injuries in violation of his
rights under the 1st.,8th.,and 14th amendments of the U.S. Constitution.

Illinois Law,and IpOC Rules and Procedures.

Id.

 
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C. Award compensatory damages in the following amounts:
1. $500.000 jointly and severally against each defendant in their
individual and official capacity for their wrong to plaintiff for a
compensatory total of $4,000,000.

D. Award punitive damages in the folowing amounts:
1. $500.000 jointly and severally against each defendant in their

individual and official capacity for their wrong to plaintiff fora
punitive total of $4,000.000.
ne

E. Grant reasonable Attorney fee's for the attorney's the court appoints.

I declare under penalty of perjury

that the foregoing is true and correct.

Signed this 24 day of March 2007.

 

2660 N. Brinton Av.
Dixon, II 61021

Sub i
u Sona and Sworn to before me

this day of March 2007.

Vow

— i/ “NOTARY PUBLIC

 

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IN THE
UNITED STATES DISTRICTR COURT
NORTHERN DISTRICT OF ILLINOIS
WESTERN DIVISION

GEORGE PHILLIPS
Plaintiff,

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CASS NO oc neers”

DOCTOR NGU, KAROLYN SHERIDAN,
JAMES MARTENS, CHRIS BARNHARD,
NEDRA CHANDLER, S. BENTON,
ROGER E. WALKER, JR.
JOHN DOE HEALTHCARE PROVIDER,

Defendants.

DECLARATION UNDER PENALTY OF PERJURY
i

I, George Phillips, pro se, declare under the penalty of perjury that I am the
maker of the foregoing pleading/document, that I have read the contents thereof,
and that the information contained therein is true and correct. I further declare
under the penalty of perjury that the EXHIBITS attached to the foregoing pleding/
document are what they are represented to be and that the information contained
therein is true and correct, and is a matter or record. 28 U.S.C. § 1746 and
18 U.S.C. § 1621.

Jy}

NOTICE OF FILING/CERTIFICATE OF SERVICE

Signed this 2° day of March 2007. Is/.

   

To: Clerk of the U.S. District Court To: Attorney General of Illinois
211 S. Court St. Lisa Madigan
Rockford, II 61101 100 W. Randolph St ste. 10-400

Chicago, II 60601

I, George Phillips, pro se, hereby certify that the proper number or coppies

(1 Original and 9 Copies) of the foregoing pleading/document (1983 Civil Complaint;
Informa Pauperis Application, and Motion for Appointment of Counsel) have been mailed
to the ciate of the Court and to Counsel for the Derendants in this cause, by placing

them with First Class Postage Prepaid, in the U.S, Mail at the Dixon Corr. Ctr.,
2600 N. Brinton Av., Dixon, Il. 61021 on this _WW4W4day of March 2007, This Certificate
of Service is made under penalty of perjury. 28 U.S.C. § 1746 and 18 U.S.C. § 1621.
a a
sf. — nf

  

Georgé Phillips;
2600 WN. Brinton Av.
Dixon, II 61021

 
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|_ Counselor's Response (i appiicanie) |

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Administrative Review Board, P.O. Box 19277,
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. * * Rod R. Blagojevich
.. Ilinois Governor
AR. |
Department of Roger E. Walker, Jr
Director

  
  

 

Corrections

Dixon Correctional Center / 2600 N. Brinton Avenue / Dixon, IL 61021 / Telephone: (815) 288-556

  

1/ TDD: (800) 526-0844

 

 

 

- oo MEMORANDUM
DATE: | g-Zl-o@
TO: Name_FAVyas, Geerge #IDOC _CPOZZO_
- Housing Unit_fae@ ¢ | a
FROM: Chris Barnhart, Grievance Officer
Nature of Grievance “70 2%
Your Grievance is being returned due to the following reason(s): R E
MGT/SMGT is an Administrative decision: therefore this issue will not be addressed further Ej VEn
Use proper Committed Persons Grievance Report form (DOC 0046) 3 /
Contact your assigned counselor f OF
Issue too vague: submit additional and specific information NMaTiCe Or
Correspondence/Request misdirected SUES

Unable to determine nature of grievance
Nature of grievance and relief requested are two separate issues — clarifi and resubmit
Not submitted in a timely manner: issue is over two months old
Issue previous grieved
Inmates may not submit grievances for other inmates: only personal relief may be requested
Requests for restoration of GCC should be forwarded to the Adjustment Committee: if
denied utilize the grievance process to appeal
legible: resubmit tegible copy for consicherattcaty na EE Sea i Se A TT
Address concerns to the Illinois Prisoner Review Board. 319 E. Madison St.. Suite A.
. Springfield. Hlinois 62701
Contact the Record Office with your request and/or additional information
This issue is outside the jurisdiction of Dixon Correctional Center
Forward directly to the Administrative Review Board
Need to appear before the Adjustment/Program Committee prior to review
No justification, for further consideration
Comments

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RECEIVED

Chris Barnhart

ce: file ‘SEP 22 2006 . Grievance Officer
OFFICE OF

INMATE ISSUES E h.B
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ILLINCIS DEPARTMENT OF CORRECTIONS

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Return of Grievance ‘or Correspondence

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Last Name ( First Name ) MI

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The attached grievance or correspondence is being returned for the following reasons:

 

Additionat information required:

[ Use the Committed Person's Grievance Report, DOC 0047 (formerly DC 5657), including the Grievance Officer’s and Chief
Administrative Officer's response, to appeal.

Provide a copy of the Committed Person's Grievance, DOC 0046 (formerly DC 5657) including the counselor's response if
applicable),

Provide date(s) of disciplinary report(s) and facility where incident(s) occurred.

Unable to determine nature of RET. t : submit additional specific information. Please return the attached
grievance or correspondence i i ifnrequested to: Administrative Review Board
Office of Inmate Issues

SEP 22 2006 1301 Concordia Court

Springfield, IL 62794-9277
GafIGe OF
Misdirected: ‘ E ISSUES

Contact your correctional counselor regarding this issue.

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Request restoration of Good Conduct Credits (GCC) to Adjustment Committee. if request is denied, utilize the inmate grievance
process outlined in Department Rule 504 for further consideration.

Contact the Record Office with your request or to provide additional information.

Persona! property issues are to be reviewed at your current facility prior to review by the Administrative Review Board.

OOO 80

Address concerns to: Illinois Prisoner Review Board
: ” 319 E: Madison St., Suite A ee oe
Springfield, IL 62706 ~ +

 

 

No further redress:

(1 Award of Meritorious Good Time (MGT) and Statutory Meritorious Good Time (SMGT) are administrative decisions; therefore, this
issue will not be addressed further.

Not submitted in the timeframe outlined in Department Rute 504; therefore, this issue will not be addressed further.

Cc) is office previously addressed this issue on ! l
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[] No justification provided for additional consideration.

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(Replaces DC 710-1274)

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Grievance Otticer, aniy i tha ienue involves deck at the present facility oF iesue not resolved Counselor,
Filet Adminietrative Office, only if AMERQENCY g * y
inistralive Review Board, only the Issue involves, ranefer denial by the Transfer Coordinator, protective custody, involuntary
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ILLINCIS DEPARTMENT OF CORRECTIONS

Administrative Review Board
Return of Grievance or Correspondence

Offender: Pi pS ( Oe ney : ( 40220
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The attached grievance or correspondence is being returned for the following reasons:

 

 

 

Additional information required:

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Provide a copy of the Committed Person's Grievance, DOC 0046 (formerly DC 5657) including the counselor's response if
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Provide date(s) of disciplinary report(s) and facility where incident(s) occurred.

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Unable to determine nature of grievance or correspondence; submit additional specific information. Please return the atiached
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Office of Inmate Issues

1301 Concordia Court

Springfield, IL 62794-9277

 

 

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Contact your correctional counselor regarding this issue. An MAL at"

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Persona! property issues are to be reviewed at your current facility prior to review by the Administrative Review Board.

Address concerns to: Illinois Prisoner Review Board
319 E. Madison St., Suite A
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{] Contact the Record Office with your request or fo provide additional information.
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No further redress:

(Award of Meritorious Good Time (MGT) and Statutory Meritorious Good Time (SMGT) are administrative decisions; therefore, this
issue will not be addressed further.

("] Not submitted in the timeframe outlined in Department Rule 504; therefore, this issue will not be addressed further.

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730 ILCS 5/3-8-7.5

Department that the persons do not wish correspondence
from that inmate during the incarceration.

P.A. 77-2097, § 3-8-7.5, added by P.A. 88-331, § 5, eff. Jan.
1, 1994.

5/3-8-8. Grievances ~

§ 3-8-8. Grievances. (a) The Director shall establish
procedures to review the grievances of committed persons.
The Director may establish one or more administrative re-
view boards within the Department to review grievances. A
committed person’s right to file grievances shall not be
restricted. Such procedure shall provide for the review of
grievances by a person or persons other than the person or
persons ‘directly responsible for the conditions or actions
against which the grievance is made.

(b) Such procedures shall provide that a record of such
grievance and any decision made with respect to it shall be
preserved for a period of one year.

(ce) Such procedures shall allow committed persons to com-
municate grievances directly to the Director or some person
designated by the Director outside of the institution or
facility where the person is confined.

(d) All committed persons shall be informed of the griev-
ance procedures established by the Department and they
shall be available to all committed persons.

(e) Diseipline shall not be imposed because of use of the
grievance procedure. ,

P.A. 77-2097, § 3-8-8, eff. Jan. 1, 1973.
Formerly H-Rev.Stat.1991, ch. 38, 1 1003-8-8.

5/3-8-9. Agreement on Detainers

§ 3-89. Agreement on Detainers. (a) The Agreement
on Detainers is hereby enacted into law and entered into by
this State with all other jurisdictions legally joining therein
in the form substantiaily as follows:

Article I

The party states find that charges outstanding against a
prisoner, detainers based on untried indictments, informa-
tions or complaints, and difficulties in securing speedy trial of
persons already incarcerated in other jurisdictions, produce
uncertainties which obstruct programs‘of prisoner treatment
and rehabilitation. Accordingly, it is the policy of the party
states and the purpose of this agreement to encourage the
expeditious and orderly disposition of such charges and
determination of the proper status of any and all detainers
based on untried indictments, informations or complaints.
The party states also find that proceedings with reference to
such charges and detainers, when emanating from another
jurisdiction, cannot properly be had in the absence of eooper-
ative procedures. It is the further purpose of this agreement
to provide such cooperative procedures.

Article IT

As used in this agreement:

(a) “State” shall mean a state of the United States; the
United States of America; a territory or possession of the
United States; the District of Columbia; the Commonwealth
of Puerto Rico.

(b) “Sending state” shall mean a state in which a prisoner
is incarcerated at the time that he initiates a request for final
disposition pursuant to Article III hereof or at the time that
a request for custody or availability is initiated pursuant to
Article IV hereof.

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CORRECTIONS 840

(c) “Receiving state” shall mean the state in which trial is
to be had on an indictment, information or complaint pursu-
ant to Article ITI or Article [V hereof.

Article [II

(a) Whenever a person has entered upon a term of impris-
onment in a penal or correctional institution of a party state,
and whenever during the continuance of the term of impris-
onment there is pending in any other party state any untried
indictment, information or complaint on the basis of which a
detainer has been lodged against the prisoner, he shall be
brought to trial within 180 days after he shall have caused to
be delivered to the prosecuting officer and the appropriate
court of the prosecuting officer’s jurisdiction written notice of
the place of his imprisonment and his request for a final
disposition to be made of the indictment, information or
complaint: provided that for a good cause shown in open
court, the prisoner or his counsel being present, the court
having jurisdiction of the matter may grant any necessary or
reasonable continuance. The request of the prisener shall be
accompanied by a certificate of the appropriate official having
custody of the prisoner, stating the term of cornmitment
under which the prisoner is being held, the time already
served, the time remaining to be served on the sentence, the
amount of good time earned, the time of parole eligibility of
the prisoner, and any decisions of the state parole agency
relating to the prisoner.

(b) The written notice and request for final disposition
referred to in paragraph (a) hereof shall be given or sent by
the prisoner to the warden, commissioner of corrections or
other official having custody of him, who shall promptly
forward it together with the certificate to the appropriate
prosecuting official and court by registered or certified mail,
return receipt requested.

(c) The warden, commissioner of corrections or other offi-
cial having custody of the prisoner shall promptly inform him
of the source and contents of any detainer lodged against him
and shall also inform him of his right to make a request for
final disposition of the indictment, information or complaint
on which the detainer is based.

(d) Any request for final disposition made by a prisoner
pursuant to paragraph (a) hereof shall operate as a request
for final disposition of all untried indictments, informations
or complaints on the basis of which detainers have been
lodged against the prisoner from the state to whose prosecut-
ing official the request for final disposition is specifically
directed. The warden, commissioner of corrections or other
official having custody of the prisoner shall forthwith notify
all appropriate prosecuting officers and courts in the several
jurisdictions within the state to which the prisoner’s request
for final disposition is being sent of the proceeding being
initiated by the prisoner. Any notification sent pursuant to
this paragraph shall be accompanied by copies of the prison-
er’s written notice, request, and the certificate. If trial is not
had on any indictment, information or complaint contemplat-
ed hereby prior to the return of the prisoner to the original
place of imprisonment, such indictment, information or com-
plaint shall not be of any further force or effect, and the
court shall enter an order dismissing the same with preju-
dice.

(e) Any request for final disposition made by a prisoner
pursuant to paragraph (a) hereof shall also be deemed to be
a waiver of extradition with respect to any charge or pro-
ceeding contemplated thereby or included therein by reason
of paragraph (d) hereof, and a waiver of extradition to the
receiving state to serve any sentence there imposed upon
him, after egmpletion of his term of imprisonment in the

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_20 ILLINOIS ADMINISTRATIVE CODE CH. I, SEC.504

SUBCHAPTER e ©

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Section 504.805 Responsibilities

a) Unless otherwise specified, the Director or Chief Administrative Officer may
delegate responsibilities stated in this Subpart to another person or persons or
designate another person or persons to perform the duties specified.

b) No other individual may routinely perform duties whenever a Section in this
Subpart specifically states the Director or Chief Administrative Officer shall
personally perform the duties. However, the Director or Chief Administrative
Officer may designate another person or persons to perform the duties during
periods of his or her temporary absence or in an emergency.

‘

(Source: Amended at 22 Il. Reg. 1206, effective January 1, 1998)
Section 504,810 Filing of Grievances

a) An offender shall first attempt to resolve incidents, problems, or complaints other
than complaints concerning disciplinary proceedings through his or her counselor.
If an offender is unable to resolve the complaint informally or if the complaint
concerns a disciplinary proceeding, the individual may file a written grievance on
a grievance form that shall be made available in all living units. A grievance shall ©@
| _be filed within 60 days after the discovery of the incident, occurrence, or problem
that gives rise to the grievance. However, if an offender can demonstrate that a
grievance was not timely filed for good cause, the grievance shall be considered.
The grievance procedure shall not be utilized for complaints regarding decisions
' that are outside the authority of the Department, such as parole decisions,
clemency, or orders regarding length of sentence or decisions that have been
rendered by the Director.

 

b) The grievance form shall be addressed to the Grievance Officer and shall be
deposited in the living unit mailbox or other designated repository. The grievance
shall contain factual details regarding each aspect of the offender’s complaint
including what happened, when, where, and the name of each person who is the
subject of or who is otherwise involved in the complaint. This provision does nat
preclude an offender from filing a grievance when the names of individuals are
not known, but the offender must include as much descriptive information about
the individual as possible.

c) Staff assistance shall be available as requested by those offenders who cannot
prepare their grievances unaided as determined by institutional staff.

1) All offenders shall be entitled to file grievances regardless of their
disciplinary status or classification. e

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Case: 3:07-cv-50063 Document #: 1 Filed: 04/02/07 Page 32 of 34 PageID #:32

d)

(Source: Amended at 27 Ill. Reg. 6214, effective May 1, 2003)

20 ILLINOIS ADMINISTRATIVE CODE CH. I, SEC.504
SUBCHAPTER e

2) Each facility shall take reasonable steps to ensure that the grievance
procedure is accessible to offenders who are impaired, disabled, or unable
to communicate in the English language.

Offenders shall be informed of the grievance procedure at the admitting facility
and may request further information regarding the procedure from their
counselors.

1) The written procedure shall be available to all offenders.
2) An offender unable to speak or read the English language may request that

the procedure be explained in the individual's own language.

4

Section 504.820 Grievance Officer

a)

b)

The Chief Administrative Officer shall appoint 2 or more employees who may
serve as a Grievance Officer to attempt to resolve problems, complaints, and
grievances that offenders have been unable to resolve through routine channels.

No person who is directly involved in the subject matter of the grievance or who
was a member of the Adjustment Committee that heard a disciplinary report
concerning the grievance may serve as the Grievance Officer reviewing that
particular case.

(Source: Amended at 27 Til. Reg. 6214, effective May 1, 2003)

Section 504.830 Grievance Procedures

a)

b)

A Grievance Officer shall review grievances at least weekly, provided that one or
more grievances have been filed. Grievances on issues that are deemed without
merit may be returned as denied to the sender without further investigation. No
merit grievances include grievances that: :

1) Have previously been addressed for which there is no additional
information; or

2) Are on issues that do not involve or affect the offender.

The Grievance Officer shall promptly submit a copy of any grievance alleging
discrimination based on disability or a request for an accommodation based upon
disability to the facility ADA Coordinator. The facility ADA Coordinator shall
conduct such investigation as deemed appropriate and make written

 
   

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20 ILLINOIS ADMINISTRATIVE CODE CH. J, SEC.504
SUBCHAPTER e

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recommendations to the Chief Administrative Officer for resolution of the
grievance.

c) An offender may be afforded an opportunity to appear before the Grievance
Officer unless the grievance is deemed without merit. The Officer may call

witnesses as deemed appropriate.

d) The Grievance Officer shal! consider the grievance and report his or her findings
and recommendations in writing to the Chief Administrative Officer. The Chief
Administrative Officer shall advise the offender of the decision in writing within
2 months after receipt of the written grievance, where reasonably feasible under
the circumstances. Responses to duplicate grievances on issues that are currently
being grieved may be combined in one response. a

(Source: Amended at 27 Ill. Reg. 6214, effective May 1, 2003)
Section 504.840 Emergency Procedures

An offender may request a grievance be handled on an emergency basis by forwarding the
grievance directly to the Chief Administrative Officer.

a) If the Chief Administrative Officer determines that there is a substantial risk of ©
imminent personal injury or other-serious or irreparable harm to the offender, the

grievance shall be handled on an emergency basis.

b) The Chief Administrative Officer shall expedite processing of the grievance and
respond to the offender, indicating what action shall be or has been taken.

(Source: Amended at 27 fll. Reg. 6214, effective May 1, 2003)

Section 504.850 Appeals

a) If, after receiving the response of the Chief Administrative Officer, the offender
still feels that the problem, complaint or grievance has not been resolved to hts or
her satisfaction, he or she may appeal in writing to the Director within 30 days
after the date of the decision. Copies of the Grievance Officer's report and the
Chief Administrative Officer's decision should be attached.

b) The Director shall review the grievance and the responses of the Grievance
Officer and Chief Administrative Officer and shall determine whether the
grievance requires a hearing before the Administrative Review Board. If it is
determined that the grievance is without merit or can be resolved without a
hearing, the offender shall be advised of this disposition, in wnting.

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730 TLCS 5/3-6-8

number of committed persons in the Adult Division who are
on waiting lists for participation in the GED programs.
P.A. 77-2097, § 3-6-8, added by P.A. 94-128, § 5, eff. July 7,
2005.

ARTICLE 7. FACILITIES

5/3-7-1. Administrative Regulations

§ 3-7-1. Administrative Regulations. The Department
shall promulgate Rules and Regulations in conformity with
this Code.
P.A. 77-2097, § 3-7-1, eff. Jan. 1, 1973.
Formerly Ill. Rev.Stat.1991, ch. 38, 7 1003~—7-1.

5/3-7-2. Facilities

§ 3-7-2. Facilities.

(a) All institutions and facilities of the Department shall
provide every committed person with aecess to toilet facili-
ties, barber facilities, bathing facilities at least once each
week, a library of legal materials and published materials
including newspapers and magazines approved by the Di-
rector. A committed person may not receive any materials
that the Director deems pornographic.

(b) (Blank).

(c) All institutions and facilities of the Department shall
provide facilities for every committed person to leave his cell
for at least one hour each day unless the chief administrative
officer determines that it would be harmful or dangerous to
the security or safety of the institution or facility,

(d) All institutions and facilities of the Department shall
provide every committed person with a wholesome and nutri-
tional diet at regularly scheduled hours, drinking water,
clothing adequate for the season, bedding, soap and towels
and medical and dental care.

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{e) All institutions and facilities of the Department shall
permit every committed person to- send and receive an
unlimited number of uncensored letters, provided, however,
that the Director may order that mail be inspected and read
for reasons of the security, safety or morale of the institution
or facility.

(f) All of the institutions and facilities of the Department
shall permit every committed person to receive visitors,
except in case of abuse of the visiting privilege or when the
chief administrative officer determines that such visiting
would be harmful or dangerous to the security, safety or
morale of the institution or facility. The chief administrative
officer shall have the right to restrict visitation to non-
contact visits for reasons of safety, security, and order,
including, but not limited to, restricting contact visits for
committed persons engaged in gang activity. No committed
person in a super maximum security facility or on disciplin-
ary segregation is allowed contact visits. Any committed
person found in possession of illegal drugs or who fails a
drug test shall not be permitted contact visits for a period of
at least 6 months. Any committed person involved in gang
activities or found guilty of assault committed against a
Department employee shall not be permitted contact visits
for a period of at least 6 months. The Department shall
offer every visitor appropriate written information concern-
ing HIV and AIDS, including information concerning how to
contact the Illinois Department of Public Health for counsel-
ing information. The Department shall develop the written
materials in consultation with the Department of Public
Health. The Department shall ensure that all such informa-
tien and materials are culturally sensitive and reflect cultural

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CORRECTIONS

diversity as appropriate, Implementation of the g
made to this Section by this amendatory Act of the:
General Assembly is subject to appropriation.

(g) All institutions and facilities of the Department’
permit religious ministrations and sacraments to be ays;
to every committed person, but attendance at religions:
vices shall not be required.

(h) Within 90 days after December 31, 1996, the
ment shall prohibit the use of curtains, cell-coverings, oF
other matter or object that obstructs or otherwisa ;
the line of vision into a committed person’s cell. :
P.A. 77-2097, § 3~7~-2, eff. Jan. 1, 1973. Amended by
81-346, § 1, eff. Aug. 31, 1979; P.A. 89-609, $ 10, eff J;
1997; P.A. 89-659, § 5, eff. Jan. 1, 1997; P.A. 89-689."
eff. June 1, 1997; P.A. 89-689, § 135, eff. Dec. 31, 1996: |
90-14, Art. 2, § 2-50, eff. July 1, 1997; P.A. 91-912, § 19
July 7, 2000; P.A. 94-629, § 94, eff. Jan. 1, 2006.
Formerly T.Rev.Stat.1991, ch. 38, 9 1003-7-2.

Validity

The Illinois Appellate Court, Fourth Distr
held that P.A. 89-688 violated the single-subject
vule of the Illinois Constitution in the case of
People v. Foster, App. 4 Dist. 2000, 316 Ml App.sd
855, 737 N.EL2d 1125, 256 [l. Dec. 148; and Peonle’
v. Burdunice, Supreme Court of Illinois 2004, 211:
TiL2d 264, 811 N.E.2d 678, 285 Ti Dec. 191.

5/3-7-2a. Commissaries

§ 3-7-2a. Ifa facility maintains a commissary or con
saries, the selling prices for all goods shall be sufficient
cover the costs of the goods and an additional charge of up
35% for tobacco products and up to 25% for non-toba
products. The amount of the additional charges for
sold at commissaries shall be based upon the amount ne
sary to pay for the wages and benefits of commissary |
ployees who are employed in commissary facilities of
Department. The Department shall determine the addi
charges upon any changes in wages and benefits of com
sary employees as negotiated in the collective barg:
agreement. A compliance audit of all commissaries and
distribution of commissary funds shall be included in
regular compliance audit of the Department condueted b
the Auditor General in accordance with the Illinois 6
Auditing Act.!

Items purchased for sale at any such commissary shall
purchased, wherever possible, at wholesale costs. If a fi
ity maintains a commissary or commissaries as of the effet,
tive date of this amendatory Act of the 93rd General Ae
sembly, the Department may not contract with a priv
contractor or vendor to operate, manage, or perform aly
portion of the commissary services. The Department may,
not enter into any such contract for commissary services 3
a facility that opens subsequent to the effective date of
amendatory Act of the 98rd General Assembly.
P.A. 77-2097, § 8-T-2a, added by P.A. 81-733, § 1, eff. J
i, 1980. Amended by P.A. 82-852, § 1, eff. Jan. 1, 1
P.A. 93-607, § 5, eff. Jan. 1, 2004.
Formerly Til. Rev.Stat.1991, ch. 38, 1 1003-7-2a.

130 ILCS 5/1-1 et seq.

5/3-7-2b. Prior notice to General Assembly _

§ 3-7-2b. Prior notice to General Assembly. Prior
the selection of any site for the construction of any corres
tional facility, work release center, community correct!

Exh. x.)

 
